    Case 16-13291-MBK             Doc 177       Filed 09/27/19 Entered 09/27/19 11:06:38                     Desc Final
                                                Decree Page 1 of 1
Form 177 − fnldec

                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                          Case No.: 16−13291−MBK
                                          Chapter: 13
                                          Judge: Michael B. Kaplan

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Michael Joseph Agolia                                    Lisa Rossi
   315 Maria Drive                                          5 Everette Court
   Toms River, NJ 08753                                     Caldwell, NJ 07006
Social Security No.:
   xxx−xx−1459                                              xxx−xx−0979
Employer's Tax I.D. No.:


                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that Albert Russo is discharged as trustee of the estate of the above named debtor(s) and the bond
is canceled; and the case of the above named debtor(s) is closed.


Dated: September 27, 2019                           Michael B. Kaplan
                                                    Judge, United States Bankruptcy Court
